             Case 2:22-mc-00120-TBM-RPM Document 24-1 Filed 11/16/22 Page 1 of 9

                            Query     Reports   Utilities   Help    Log Out

                                                                                                            ACO

                                      U.S. District Court
                            Eastern District of New York (Brooklyn)
                      CIVIL DOCKET FOR CASE #: 1:20-cv-04662-HG-PK


Rosenfeld v. AC2T, Inc. et al                                      Date Filed: 09/30/2020
Assigned to: Judge Hector Gonzalez                                 Jury Demand: Plaintiff
Referred to: Magistrate Judge Peggy Kuo                            Nature of Suit: 370 Fraud or Truth-In-
Demand: $5,000,000                                                 Lending
Cause: 28:1332 Diversity-Fraud                                     Jurisdiction: Diversity
Plaintiff
Kalman Rosenfeld                                   represented by Yitzchak Kopel
individually and on behalf of all others                          Bursor & Fisher P.A.
similarly situated                                                888 Seventh Avenue
                                                                  New York, NY 10019
                                                                  646-837-7150
                                                                  Fax: 212-989-9163
                                                                  Email: ykopel@bursor.com
                                                                  ATTORNEY TO BE NOTICED


V.
Defendant
AC2T, Inc.                                         represented by Anna G Dimon
                                                                  Venable LLP
                                                                  Litigation
                                                                  Rockefeller Center
                                                                  1270 Avenue of the Americas
                                                                  Ste 2100
                                                                  New York, NY 10020
                                                                  212-503-0698
                                                                  Email: agdimon@venable.com
                                                                  TERMINATED: 05/13/2022
                                                                  ATTORNEY TO BE NOTICED

                                                                   Daniel Richard Benson
                                                                   Kasowitz Benson Torres LLP
                                                                   1633 Broadway
                                                                   New York, NY 10019
                                                                   (212)506-1700
                                                                   Fax: (212)506-1800
                                                                   Email: dbenson@kasowitz.com
                                                                   ATTORNEY TO BE NOTICED

                                                                   Edward P. Boyle
                                                "                Venable LLP
                                                                   Litigation
             Case 2:22-mc-00120-TBM-RPM Document 24-1 Filed 11/16/22 Page 2 of 9
                                                      1270 Avenue of the Americas
                                                      New York, NY 10020
                                                      212-808-5675
                                                      Fax: 212-307-5598
                                                      Email: epboyle@venable.com
                                                      TERMINATED: 06/27/2022
                                                      ATTORNEY TO BE NOTICED

                                                                Maria Ruiz
                                                                Kasowitz Benson Torres LLP
                                                                1441 Brickell Avenue
                                                                Ste 1420
                                                                New York, FL 33131
                                                                786-587-1044
                                                                Email: mruiz@kasowitz.com
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

Defendant
Bonner Analytical Testing Co.                    represented by Daniel Richard Benson
TERMINATED: 09/15/2021                                          (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Rachel Bandli
                                                                Kasowitz Benson Torres LLP
                                                                Accounting
                                                                1633 Broadway
                                                                New York, NY 10019
                                                                212-506-1700
                                                                Email: rbandli@kasowitz.com
                                                                ATTORNEY TO BE NOTICED

Defendant
Jeremy Hirsch                                    represented by Anna G Dimon
TERMINATED: 09/15/2021                                          (See above for address)
                                                                TERMINATED: 05/13/2022
                                                                ATTORNEY TO BE NOTICED

                                                                Edward P. Boyle
                                                                (See above for address)
                                                                TERMINATED: 06/27/2022
                                                                ATTORNEY TO BE NOTICED


Date Filed      #   Docket Text
09/30/2020       1 COMPLAINT against AC2T, Inc., Bonner Analytical Testing Co., Jeremy Hirsch filing
                   fee $ 400, receipt number ANYEDC-13448397 Was the Disclosure Statement on Civil
                   Cover Sheet completed -YES,, filed by Kalman Rosenfeld. (Attachments: # 1 Civil Cover
                   Sheet, # 2 Proposed Summons AC2T, Inc., # 3 Proposed Summons Bonner Analytical
                   Testing Co., # 4 Proposed Summons Jeremy Hirsch) (Kopel, Yitzchak) (Entered:
                   09/30/2020)
           Case 2:22-mc-00120-TBM-RPM Document 24-1 Filed 11/16/22 Page 3 of 9
10/01/2020        Case Assigned to Chief Judge Roslynn R. Mauskopf and Magistrate Judge Peggy Kuo.
                  Please download and review the Individual Practices of the assigned Judges, located on
                  our website. Attorneys are responsible for providing courtesy copies to judges where their
                  Individual Practices require such. (Davis, Kimberly) (Entered: 10/01/2020)
10/01/2020       2 In accordance with Rule 73 of the Federal Rules of Civil Procedure and Local Rule 73.1,
                   the parties are notified that if all parties consent a United States magistrate judge of this
                   court is available to conduct all proceedings in this civil action including a (jury or
                   nonjury) trial and to order the entry of a final judgment. Attached to the Notice is a blank
                   copy of the consent form that should be filled out, signed and filed electronically only if
                   all parties wish to consent. The form may also be accessed at the following link:
                   http://www.uscourts.gov/uscourts/FormsAndFees/Forms/AO085.pdf. You may withhold
                   your consent without adverse substantive consequences. Do NOT return or file the
                   consent unless all parties have signed the consent. (Davis, Kimberly) (Entered:
                   10/01/2020)
10/01/2020       3 This attorney case opening filing has been checked for quality control. See the attachment
                   for corrections that were made, if any. (Davis, Kimberly) (Entered: 10/01/2020)
10/01/2020       4 Summons Issued as to AC2T, Inc., Bonner Analytical Testing Co., Jeremy Hirsch.
                   (Attachments: # 1 Summons, # 2 Summons) (Davis, Kimberly) (Entered: 10/01/2020)
10/02/2020       5 SCHEDULING ORDER: A Telephone Initial Conference will be held in this case on
                   January 5, 2021 at 10:30 a.m. before Peggy Kuo, United States Magistrate Judge. All
                   counsel are required to attend. The parties are directed to call toll free (877) 336-1274
                   and input the Access Code 1453850 at the time of the Conference. No additional security
                   code is needed. Once all parties are on the line, the call will be connected.

                    Counsel are directed to the annexed Initial Conference Order for instructions. By
                    December 31, 2020, the parties must file a joint and completed copy of the Proposed
                    Discovery Plan, a PDF version of which may be found at:
                    https://img.nyed.uscourts.gov/files/forms/PK-discovplan.pdf Any request for adjournment
                    of this or any other conference must be made in writing on notice to opposing parties, and
                    must disclose whether or not all parties consent. No request for adjournment will be
                    considered unless made at least two (2) business days before the scheduled conference,
                    except in the event of an emergency. Counsel with knowledge and authority must be
                    present. Per diem counsel may not appear without prior permission of the Court.
                    Plaintiff's counsel is directed to ensure that defendant is aware of this conference. (The
                    parties are reminded that, pursuant to Local Civil Rule 1.8, they may not independently
                    record any court proceedings. A transcript of the proceedings may be ordered from the
                    Clerk's Office.) Ordered by Magistrate Judge Peggy Kuo on 10/2/2020. (O'Neil-Berven,
                    Ryan) (Entered: 10/02/2020)
10/09/2020       6 EXHIBIT A to Class Action Complaint by Kalman Rosenfeld. Related document: 1
                   Complaint, filed by Kalman Rosenfeld. (Kopel, Yitzchak) (Entered: 10/09/2020)
10/19/2020       7 SUMMONS Returned Executed by Kalman Rosenfeld. Bonner Analytical Testing Co.
                   served on 10/14/2020, answer due 11/4/2020. (Kopel, Yitzchak) (Entered: 10/19/2020)
10/19/2020       8 NOTICE of Appearance by Edward P. Boyle on behalf of AC2T, Inc., Jeremy Hirsch (aty
                   to be noticed) (Boyle, Edward) (Entered: 10/19/2020)
10/19/2020       9 Joint MOTION for Extension of Time to File Answer re 1 Complaint, by AC2T, Inc.,
                   Jeremy Hirsch. (Boyle, Edward) (Entered: 10/19/2020)
10/19/2020     10 ORDER granting 9 Motion for Extension of Time to Answer. The deadline for defendants
                  AC2T, Inc. and Jeremy Hirsch to answer or otherwise respond to the Complaint is
             Case 2:22-mc-00120-TBM-RPM Document 24-1 Filed 11/16/22 Page 4 of 9
                    extended to December 3, 2020. Ordered by Magistrate Judge Peggy Kuo on 10/19/2020.
                    (O'Neil-Berven, Ryan) (Entered: 10/19/2020)
11/03/2020      11 NOTICE of Appearance by Daniel Richard Benson on behalf of Bonner Analytical Testing
                   Co. (aty to be noticed) (Benson, Daniel) (Entered: 11/03/2020)
11/03/2020      12 Letter MOTION for pre motion conference Re: Bonner Analytical's Motion to Dismiss by
                   Bonner Analytical Testing Co.. (Benson, Daniel) (Entered: 11/03/2020)
11/03/2020      13 Corporate Disclosure Statement by Bonner Analytical Testing Co. (Benson, Daniel)
                   (Entered: 11/03/2020)
11/04/2020           ORDER: By 11/11/2020, plaintiff shall file a letter with the Court, not to exceed three
                     pages, setting forth the legal and factual bases upon which plaintiff intends to rely to
                     oppose Bonner Analytical Testing Co.'s proposed motion to dismiss (Doc. No. 12 ). Upon
                     receipt of plaintiff's letter, the Court will determine whether a pre-motion conference is
                     required in this case. Bonner Analytical Testing Co.'s time to answer or otherwise move
                     with respect to the complaint is extended until 21 days after this Court's order on any
                     motion to dismiss, or until further order of the Court. Ordered by Chief Judge Roslynn R.
                     Mauskopf on 11/4/2020. (Sussman, Rebecca) (Entered: 11/04/2020)
11/11/2020      14 Corporate Disclosure Statement by AC2T, Inc. (Boyle, Edward) (Entered: 11/11/2020)
11/11/2020      15 Letter in Response to Bonner Analytical Testing Co.'s Letter Request for Pre-Motion
                   Conference by Kalman Rosenfeld (Kopel, Yitzchak) (Entered: 11/11/2020)
11/12/2020           ORDER: Defendant Bonner Analytical Testing Co.'s request for a pre-motion conference
                     in anticipation of filing its proposed motion to dismiss, (Doc. No. 12 ), is denied. No pre-
                     motion conference is required in this case. Bonner Analytical Testing Co. shall serve its
                     motion to dismiss by December 10, 2020; plaintiff shall serve his opposition by January 7,
                     2021, and defendant shall serve its reply, if any, and file the fully briefed motion on or
                     before January 21, 2021. The parties shall mail courtesy to chambers at the time of filing.
                     Ordered by Chief Judge Roslynn R. Mauskopf on 11/12/2020. (Sussman, Rebecca)
                     (Entered: 11/12/2020)
11/30/2020      16 NOTICE of Appearance by Anna G Dimon on behalf of AC2T, Inc., Jeremy Hirsch (aty to
                   be noticed) (Dimon, Anna) (Entered: 11/30/2020)
12/03/2020      17 Letter MOTION for pre motion conference Re: the Spartan Defendants' Motion to Dismiss
                   by AC2T, Inc., Jeremy Hirsch. (Boyle, Edward) (Entered: 12/03/2020)
12/08/2020      18 Letter in Response to Spartan Defendants' Letter Request for Pre-Motion Conference by
                   Kalman Rosenfeld (Kopel, Yitzchak) (Entered: 12/08/2020)
12/09/2020           ORDER: Defendants AC2T and Jeremy Hirsch's request for a pre-motion conference in
                     anticipation of filing their motion to dismiss, (Doc. No. 17 ), is denied. No pre-motion
                     conference is required in this case. Defendants shall serve their motion to dismiss by
                     January 6, 2021; plaintiff shall serve his opposition by February 3, 2021, and defendants
                     shall serve their reply, if any, and file the fully briefed motion on or before February 17,
                     2021. Defendants shall mail courtesy copies of the fully briefed motion to chambers at the
                     time of filing. Defendants AC2T and Jeremy Hirsch's time to answer or otherwise move
                     with respect to the complaint is extended until 21 days after this Court's order on any
                     motion to dismiss, or until further order of the Court. Ordered by Chief Judge Roslynn R.
                     Mauskopf on 12/9/2020. (Sussman, Rebecca) (Entered: 12/09/2020)
12/14/2020      19 MOTION for Extension of Time to File Response/Reply by Kalman Rosenfeld. (Kopel,
                   Yitzchak) (Entered: 12/14/2020)
12/22/2020      20 MOTION to Adjourn Conference Currently Set for January 5, 2021 by Kalman Rosenfeld.
             Case 2:22-mc-00120-TBM-RPM Document 24-1 Filed 11/16/22 Page 5 of 9
                    (Kopel, Yitzchak) (Entered: 12/22/2020)
12/23/2020          Order granting the motion to adjourn the initial conference 20 . The initial conference is
                    adjourned to January 19, 2021 at 11:00am. The parties are directed to call toll free (877)
                    336-1274 and input the access code 1453850 at the time of the conference. No additional
                    security code is needed. Once all parties are on the line, the call will be connected.

                    The parties are directed to file their joint proposed discovery plan by January 13, 2021.
                    Ordered by Magistrate Judge Peggy Kuo on 12/23/2020. (Rand, Matthew) (Entered:
                    12/23/2020)
12/23/2020          ORDER: Plaintiff's request to consolidate his opposition briefs to defendants' motions to
                    dismiss and for an extension of time to serve his opposition, 19 , on consent, is granted.
                    Plaintiff shall serve his consolidated opposition brief by 2/3/2021, and defendants shall
                    serve their replies and file the fully briefed motions on or before 2/24/2021. The parties
                    shall mail courtesy to chambers at the time of filing. Ordered by Chief Judge Roslynn R.
                    Mauskopf on 12/23/2020. (Sussman, Rebecca) (Entered: 12/23/2020)
01/13/2021      21 Proposed Scheduling Order by Kalman Rosenfeld (Kopel, Yitzchak) (Entered:
                   01/13/2021)
01/19/2021      22 NOTICE of Appearance by Rachel Bandli on behalf of Bonner Analytical Testing Co. (aty
                   to be noticed) (Bandli, Rachel) (Entered: 01/19/2021)
01/19/2021          Minute Entry for proceedings held before Magistrate Judge Peggy Kuo. Initial Conference
                    held by telephone on January 19, 2021. Attorneys Yitzchak Kopel and Alek Leslie
                    appeared on behalf of plaintiff. Attorney Leslie was directed to file a notice of appearance
                    on the docket sheet. Attorneys Anna Dimon and Edward Boyle appeared on behalf of
                    defendants AC2T, Inc. and Jeremy Hirsch. Attorneys Daniel Benson and Rachel Bandli
                    appeared on behalf of Defendant Bonner Analytical Testing Co.

                    The parties are directed to exchange their initial disclosures by January 22, 2021. They
                    are also directed to file the anticipated Motion to Stay and any oppositions, in letter briefs
                    of 3 pages or less, by March 10, 2021. If no stay is requested at that time, a joint proposed
                    scheduling order must be filed proposing deadlines for discovery and pre-trial motions.
                    (FTR Log: 11:03 11:45) (O'Neil-Berven, Ryan) (Entered: 01/19/2021)
02/24/2021      23 Notice of MOTION to Dismiss the Complaint by AC2T, Inc., Jeremy Hirsch. (Boyle,
                   Edward) (Entered: 02/24/2021)
02/24/2021      24 MEMORANDUM in Support re 23 Notice of MOTION to Dismiss the Complaint filed by
                   AC2T, Inc., Jeremy Hirsch. (Boyle, Edward) (Entered: 02/24/2021)
02/24/2021      25 AFFIDAVIT/DECLARATION in Support re 23 Notice of MOTION to Dismiss the
                   Complaint - Declaration of Edward P. Boyle filed by AC2T, Inc., Jeremy Hirsch.
                   (Attachments: # 1 Exhibit 1A, # 2 Exhibit 1B, # 3 Exhibit 2A, # 4 Exhibit 2B, # 5 Exhibit
                   3, # 6 Exhibit 4, # 7 Exhibit 5, # 8 Exhibit 6, # 9 Exhibit 7, # 10 Exhibit 8, # 11 Exhibit 9,
                   # 12 Exhibit 10, # 13 Exhibit 11, # 14 Exhibit 12) (Boyle, Edward) (Entered: 02/24/2021)
02/24/2021      26 AFFIDAVIT/DECLARATION in Support re 23 Notice of MOTION to Dismiss the
                   Complaint - Declaration of Hirsch filed by AC2T, Inc., Jeremy Hirsch. (Boyle, Edward)
                   (Entered: 02/24/2021)
02/24/2021      27 Notice of MOTION to Dismiss for Lack of Jurisdiction , MOTION to Dismiss for Failure
                   to State a Claim by Bonner Analytical Testing Co.. (Benson, Daniel) (Entered:
                   02/24/2021)
02/24/2021      28 MEMORANDUM in Support re 27 Notice of MOTION to Dismiss for Lack of
             Case 2:22-mc-00120-TBM-RPM Document 24-1 Filed 11/16/22 Page 6 of 9
                    Jurisdiction MOTION to Dismiss for Failure to State a Claim filed by Bonner Analytical
                    Testing Co.. (Benson, Daniel) (Entered: 02/24/2021)
02/24/2021      29 MEMORANDUM in Opposition re 27 Notice of MOTION to Dismiss for Lack of
                   Jurisdiction MOTION to Dismiss for Failure to State a Claim , 23 Notice of MOTION to
                   Dismiss the Complaint (filed by Yitz Kopel) filed by AC2T, Inc., Jeremy Hirsch. (Boyle,
                   Edward) (Entered: 02/24/2021)
02/24/2021      30 REPLY in Support re 23 Notice of MOTION to Dismiss the Complaint filed by AC2T,
                   Inc., Jeremy Hirsch. (Boyle, Edward) (Entered: 02/24/2021)
02/24/2021      31 REPLY in Support re 27 Notice of MOTION to Dismiss for Lack of Jurisdiction MOTION
                   to Dismiss for Failure to State a Claim filed by Bonner Analytical Testing Co.. (Benson,
                   Daniel) (Entered: 02/24/2021)
03/10/2021      32 Letter MOTION to Stay /Spartan Defendants' Joint Letter Motion to Judge Peggy Kuo
                   dated March 10, 2021 re: request for a stay of discovery pending the resolution of
                   Defendants' respective motions to dismiss Plaintiff's complaint by Bonner Analytical
                   Testing Co.. (Benson, Daniel) (Entered: 03/10/2021)
03/10/2021      33 RESPONSE in Opposition re 32 Letter MOTION to Stay /Spartan Defendants' Joint
                   Letter Motion to Judge Peggy Kuo dated March 10, 2021 re: request for a stay of
                   discovery pending the resolution of Defendants' respective motions to dismiss Plaintiff's
                   complaint filed by Kalman Rosenfeld. (Kopel, Yitzchak) (Entered: 03/10/2021)
03/22/2021           Order. The motion to stay 32 is denied. The parties are directed to file a joint proposed
                     scheduling order by March 29, 2021. Ordered by Magistrate Judge Peggy Kuo on
                     3/22/2021. (Rand, Matthew) (Entered: 03/22/2021)
03/29/2021      34 Proposed Scheduling Order by Kalman Rosenfeld (Kopel, Yitzchak) (Entered:
                   03/29/2021)
04/01/2021      35 SCHEDULING ORDER: The joint proposed discovery plan filed at 34 is so-ordered. A
                   Telephone Settlement Conference is scheduled for September 24, 2021 at 2:00 p.m.
                   before Magistrate Judge Peggy Kuo. Plaintiff and individual Defendant must be present. A
                   representative of the corporate defendants with complete settlement authority (other than
                   counsel) must be present. Counsel are directed to call toll free (877) 336-1274 and input
                   the Access Code 1453850 at the time of the Conference, either with their clients on the
                   line, or share the dial-in information so their clients can call in separately. Once all parties
                   are on the line, the call will be connected. The security code for the conference will be
                   provided to the parties via e-mail upon receipt of their Settlement Statements.

                     The parties are directed to submit confidential ex parte settlement statements to Chambers
                     via email to Kuo_Chambers@nyed.uscourts.gov by September 16, 2021 The statements
                     must include the last offer and demand, and a frank assessment of the strengths and
                     weaknesses of each party's case. For guidance on the requirements for the statements, the
                     parties should consult Magistrate Judge Peggy Kuo's Individual Practice Rules. The Court
                     will schedule ex parte telephone calls with counsel after review of the statements. Ordered
                     by Magistrate Judge Peggy Kuo on 4/1/2021. (O'Neil-Berven, Ryan) (Entered:
                     04/01/2021)
04/23/2021      36 STIPULATION re: ESI and Hard Copy Protocol by Kalman Rosenfeld (Kopel, Yitzchak)
                   (Entered: 04/23/2021)
04/23/2021      37 STIPULATION re: Confidentiality Order by Kalman Rosenfeld (Kopel, Yitzchak)
                   (Entered: 04/23/2021)
04/23/2021      38 PROTECTIVE ORDER: The proposed Confidentiality order filed at 37 is so-ordered. See
             Case 2:22-mc-00120-TBM-RPM Document 24-1 Filed 11/16/22 Page 7 of 9
                    attached Order for further details. Ordered by Magistrate Judge Peggy Kuo on 4/23/2021.
                    (O'Neil-Berven, Ryan) (Entered: 04/23/2021)
04/26/2021      39 PROTECTIVE ORDER: The proposed ESI and Hard Copy Protocol filed at 36 is so-
                   ordered. See attached protocol for further details. Ordered by Magistrate Judge Peggy Kuo
                   on 4/26/2021. (Tran, Tammy) (Entered: 04/26/2021)
07/12/2021           Case Reassigned to Judge Frederic Block. Judge Roslynn R. Mauskopf no longer assigned
                     to the case. Please download and review the Individual Practices of the assigned Judges,
                     located on our website. Attorneys are responsible for providing courtesy copies to judges
                     where their Individual Practices require such. (Mahoney, Brenna) (Entered: 07/12/2021)
09/14/2021      40 Joint MOTION to Adjourn Conference Settlement Conference Currently Scheduled for
                   September 24, 2021 by Kalman Rosenfeld. (Kopel, Yitzchak) (Entered: 09/14/2021)
09/15/2021      41 MEMORANDUM and ORDER: The Court GRANTS Bonner and Hirschs motions 23 to
                   dismiss for lack of personal jurisdiction and DENIES AC2Ts remaining motion 27 to
                   dismiss for failure to state a claim. Ordered by Judge Frederic Block on 9/15/2021.
                   (Innelli, Michael) (Entered: 09/15/2021)
09/15/2021           ELECTRONIC Order Dismissing: Defendants Bonner Analytical Testing Co. and Jeremy
                     Hirsch, only. See entry 41 . Ordered by Judge Frederic Block on 9/15/2021. (Innelli,
                     Michael) (Entered: 09/15/2021)
09/15/2021           ORDER: The Settlement Conference by telephone is adjourned sine die. The parties are
                     directed to file a joint letter within seven (7) days of a decision on the 23 and 27 Motions
                     to Dismiss proposing new dates for a settlement conference with the Court if the motions
                     are not fully granted. Ordered by Magistrate Judge Peggy Kuo on 9/15/2021. Modified on
                     9/15/2021 to remove motion at 40 and correct language. (O'Neil-Berven, Ryan) (Entered:
                     09/15/2021)
09/20/2021      42 Joint MOTION to Adjourn Conference settlement conference by AC2T, Inc.. (Boyle,
                   Edward) (Entered: 09/20/2021)
09/20/2021           ORDER: The parties are directed to file a joint letter within seven (7) days of a decision
                     on the anticipated motion for class certification. Ordered by Magistrate Judge Peggy Kuo
                     on 9/20/2021. (O'Neil-Berven, Ryan) (Entered: 09/20/2021)
10/06/2021      43 ANSWER to 1 Complaint, by AC2T, Inc.. (Boyle, Edward) (Entered: 10/06/2021)
10/28/2021      44 Letter MOTION for Extension of Time to Complete Discovery by AC2T, Inc.. (Boyle,
                   Edward) (Entered: 10/28/2021)
10/28/2021      45 STIPULATION Amended Stipulated Protective Order by AC2T, Inc. (Boyle, Edward)
                   Modified on 10/28/2021 to add motion for protective order (O'Neil-Berven, Ryan).
                   (Entered: 10/28/2021)
10/28/2021      46 ORDER granting 44 Motion for Extension of Time to Complete Discovery. The deadline
                   for Plaintiff to file their Motion for Rule 23 Class Certification is extended to March 7,
                   2022. The deadline to file a response in opposition to the motion is extended to April 25,
                   2022. The deadline to file a reply in further support is extended to May 23, 2022. Ordered
                   by Magistrate Judge Peggy Kuo on 10/28/2021. (O'Neil-Berven, Ryan) (Entered:
                   10/28/2021)
10/28/2021      47 ORDER: The Amended Protective Order filed at 45 is so-ordered. Ordered by Magistrate
                   Judge Peggy Kuo on 10/28/2021. (O'Neil-Berven, Ryan) (Entered: 10/28/2021)
02/22/2022      48 Letter MOTION for Extension of Time to Complete Discovery by AC2T, Inc.. (Boyle,
                   Edward) (Entered: 02/22/2022)
           Case 2:22-mc-00120-TBM-RPM Document 24-1 Filed 11/16/22 Page 8 of 9
02/22/2022    49 ORDER granting 48 Motion for Extension of Time to Complete Discovery. The proposed
                  Scheduling Order filed at 48 is so-ordered. The deadline for Plaintiff to file their Motion
                  for Rule 23 Class Certification is extended to September 7, 2022. The deadline to file a
                  response in opposition to the motion is extended to October 26, 2022. The deadline to file
                  a reply in further support is extended to November 23, 2022.

                    The parties are directed to file a joint revised discovery plan within seven (7) days of a
                    decision on the anticipated Motion for Class Certification proposing new dates for all
                    discovery deadlines. A PDF version of which may be found at:
                    https://img.nyed.uscourts.gov/files/forms/PK-discovplan.pdf. Ordered by Magistrate Judge
                    Peggy Kuo on 2/22/2022. (O'Neil-Berven, Ryan) (Entered: 02/22/2022)
05/09/2022          Case Reassigned to Judge Hector Gonzalez. Judge Frederic Block no longer assigned to
                    the case. Please download and review the Individual Practices of the assigned Judges,
                    located on our website. Attorneys are responsible for providing courtesy copies to judges
                    where their Individual Practices require such. (Marziliano, August) (Entered: 05/09/2022)
05/13/2022      50 MOTION to Withdraw as Attorney of Anna G. Dimon by AC2T, Inc.. (Boyle, Edward)
                   (Entered: 05/13/2022)
05/13/2022      51 ORDER granting 50 Motion to Withdraw as Attorney. Attorney Anna G Dimon
                   terminated. Ordered by Magistrate Judge Peggy Kuo on 5/13/2022. (O'Neil-Berven, Ryan)
                   (Entered: 05/13/2022)
06/27/2022      52 MOTION to Substitute Attorney / STIPULATION AND [PROPOSED] ORDER OF
                   SUBSTITUTION OF COUNSEL by AC2T, Inc.. (Attachments: # 1 Declaration of Daniel
                   R. Benson, # 2 Consent to Substitution of Counsel) (Benson, Daniel) (Entered:
                   06/27/2022)
06/27/2022      53 NOTICE by AC2T, Inc. / NOTICE OF SUBSTITUTION OF COUNSEL (Benson, Daniel)
                   (Entered: 06/27/2022)
06/27/2022      54 ORDER granting 52 Motion to Substitute Attorney. Attorney Daniel R. Benson is
                   substituted as counsel of record for Defendant AC2T, Inc. in place and stead of attorney
                   Edward P. Boyle. Ordered by Magistrate Judge Peggy Kuo on 6/27/2022. (O'Neil-Berven,
                   Ryan) (Entered: 06/27/2022)
08/02/2022      55 MOTION to Appear Pro Hac Vice as to Maria H. Ruiz Filing fee $ 150, receipt number
                   ANYEDC-15805158. by AC2T, Inc.. (Attachments: # 1 Maria H. Ruiz's Affidavit in
                   Support of Motion to Admit Counsel Pro Hac Vice, # 2 Certificates of Good Standing, # 3
                   Proposed Order) (Ruiz, Maria) (Entered: 08/02/2022)
08/02/2022      56 ORDER granting 55 Motion for Leave to Appear Pro Hac Vice. Attorney Maria Ruiz is
                   permitted to appear pro hac vice on behalf of defendant AC2T, Inc. The attorney shall
                   register for ECF, registration is available online at www.pacer.gov. Once registered, the
                   attorney shall file a notice of appearance and ensure that she receives electronic
                   notification of activity in this case. Also, the attorney shall ensure the $150 admission fee
                   be submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee. Ordered by
                   Magistrate Judge Peggy Kuo on 8/2/2022. (O'Neil-Berven, Ryan) (Entered: 08/02/2022)
08/02/2022      57 NOTICE of Appearance by Maria Ruiz on behalf of AC2T, Inc. (notification declined or
                   already on case) (Ruiz, Maria) (Entered: 08/02/2022)
08/31/2022      58 Joint MOTION for Extension of Time to Complete Discovery by Kalman Rosenfeld.
                   (Kopel, Yitzchak) (Entered: 08/31/2022)
09/06/2022          ORDER: The 58 Motion for Extension of Time to Complete Discovery is denied as
                    unnecessary. Pursuant to the Scheduling Order entered at 49 , the parties were directed to
             Case 2:22-mc-00120-TBM-RPM Document 24-1 Filed 11/16/22 Page 9 of 9
                    file a joint revised discovery plan, proposing new dates for all discovery deadlines, within
                    seven (7) days after a decision on the anticipated Motion for Class Certification. Thus,
                    while discovery may proceed, it is not required to be completed while the Motion for Class
                    Certification is being briefed or is pending. Ordered by Magistrate Judge Peggy Kuo on
                    9/6/2022. (O'Neil-Berven, Ryan) (Entered: 09/06/2022)
09/06/2022       59 Emergency MOTION for Extension of Time to File Motion for Class Certification by
                    Kalman Rosenfeld. (Attachments: # 1 Exhibit A - Proposed Amended Scheduling Order)
                    (Kopel, Yitzchak) (Entered: 09/06/2022)
09/06/2022       60 ORDER granting 59 Motion for Extension of Time to File Motion for Class Certification.
                    The proposed Scheduling Order filed at [59-1] is so-ordered. The deadline for Plaintiff to
                    file their Motion for Rule 23 Class Certification is extended to January 26, 2023. The
                    deadline to file a response in opposition to the motion is extended to March 16, 2023. The
                    deadline to file a reply in further support is extended to April 13, 2023.

                     The parties are directed to file a joint revised discovery plan within seven (7) days of a
                     decision on the anticipated Motion for Class Certification proposing new dates for all
                     discovery deadlines. A PDF version of which may be found at:
                     https://img.nyed.uscourts.gov/files/forms/PK-discovplan.pdf. Ordered by Magistrate Judge
                     Peggy Kuo on 9/6/2022. (Gus, Lindsay) (Entered: 09/06/2022)
09/06/2022           Minute Entry for proceedings held before Magistrate Judge Peggy Kuo. Conference held
                     by telephone on September 6, 2022. Attorney Yitzchak Kopel appeared on behalf of
                     plaintiff. Attorney Maria Ruiz appeared on behalf of defendant AC2T, Inc..

                     The parties called Judge Kuo's Chambers requesting clarification on the Order dated
                     9/6/2022 which denied the 58 Motion for Extension of Time to Complete Discovery. The
                     parties informed the Court they need additional discovery before briefing the class
                     certification motion. The parties were directed to file a revised briefing schedule setting
                     forth the new proposed deadlines for the Rule 23 Class Certification Motion. (NO FTR
                     LOG ) (O'Neil-Berven, Ryan) (Entered: 09/07/2022)



                                              PACER Service Center
                                                Transaction Receipt
                                                    11/16/2022 13:59:06
                          PACER
                                         jcmayojr        Client Code:     USM - Spartan
                          Login:
                          Description:   Docket Report Search Criteria: 1:20-cv-04662-HG-PK
                          Billable Pages: 8              Cost:            0.80
